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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION



 Le-Vel Brands, LLC,
                                                            CIVIL ACTION NO. 4:20-cv-398-SDJ
        Plaintiff,

 v.

 DMS Natural Health, LLC,

        Defendant.


                       JOINT STIPULATION REGARDING TESTIMONY OF
                            JASON CAMPER AND PAUL GRAVETTE

         Plaintiff Le-Vel Brands, LLC and Defendant DMS Natural Health, LLC jointly stipulate

that the co-founders and co-CEOs of Le-Vel, Jason Camper and Paul Gravette, will not be called

to testify at trial.

Dated: June 11, 2021                            Respectfully submitted,

 /s/ Darlene F. Ghavimi                            /s/ Mark Sommers

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                                CERTIFICATE OF SERVICE

       I, the undersigned, certify that on June 11, 2021, a copy of the foregoing document was

served on all counsel of record via this Court’s CM/ECF electronic filing system.


                                                     /s/ Emileigh S. Hubbard




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